Case 2:18-cv-11776-AJT-EAS ECF No. 44 filed 05/06/19   PageID.1268    Page 1 of 26



                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION


 JOHN DOE,                                   :
                                             :   Case No. 18-cv-11776
                        Plaintiff,           :
                                             :   Hon. Arthur J. Tarnow
      v.                                     :   Mag. Elizabeth A. Stafford
                                             :
 UNIVERSITY OF MICHIGAN, et al.,             :   DEFENDANTS’
                                             :   EMERGENCY MOTION
                        Defendants.          :   FOR RECONSIDERATION
                                             :



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Case 2:18-cv-11776-AJT-EAS ECF No. 44 filed 05/06/19        PageID.1269    Page 2 of 26



       Defendants move pursuant to Rule 7.1(h) of the Local Rules of the United

 States District Court for the Eastern District of Michigan for reconsideration of the

 Court’s May 1, 2019 Order: (1) requiring the President of the University of

 Michigan to attend the conference to be scheduled at a date to be determined in

 May 2019; and (2) declining to refer settlement discussions in this matter to a

 colleague on the Court. In support of this motion, defendants rely upon the

 attached brief in support.

       Counsel for defendants conferred with counsel for plaintiff on May 3, 2019

 and explained the nature of this motion and its legal basis. Counsel for defendants

 requested, but did not obtain, concurrence in the relief sought in this motion.

       WHEREFORE, defendants respectfully request that the Court grant

 defendants’ emergency motion for reconsideration of the Court’s May 1, 2019

 Order and (1) permit the University to bring, in lieu of the University’s President,

 another University administrator with full settlement authority to the upcoming

 conference, and (2) refer this matter to another member of the Court to the extent

 the purpose of the conference is to discuss settlement.
Case 2:18-cv-11776-AJT-EAS ECF No. 44 filed 05/06/19   PageID.1270   Page 3 of 26



                                    Respectfully submitted,

 May 6, 2019                        /s/Joshua W. B. Richards
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Case 2:18-cv-11776-AJT-EAS ECF No. 44 filed 05/06/19   PageID.1271   Page 4 of 26



                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION


 JOHN DOE,                                  :
                                            :   Case No. 18-cv-11776
                        Plaintiff,          :
                                            :   Hon. Arthur J. Tarnow
      v.                                    :   Mag. Elizabeth A. Stafford
                                            :
 UNIVERSITY OF MICHIGAN, et al.,            :   BRIEF IN SUPPORT OF
                                            :   DEFENDANTS’
                        Defendants.         :   EMERGENCY MOTION
                                            :   FOR RECONSIDERATION
                                            :


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Case 2:18-cv-11776-AJT-EAS ECF No. 44 filed 05/06/19                               PageID.1272          Page 5 of 26



                                         TABLE OF CONTENTS

 STATEMENT OF THE ISSUES PRESENTED ..................................................... iv
 RELEVANT AUTHORITY ......................................................................................v
 INTRODUCTION .....................................................................................................1
 LEGAL STANDARD ................................................................................................2
 ARGUMENT .............................................................................................................3
     I.       Respectfully, the Court’s Stated Reasons for Requiring the
              University’s President to Attend the Upcoming Conference Constitute
              an Abuse of Discretion. ..............................................................................3
              A.      Respectfully, Requiring the University’s President to Attend a
                      Settlement Conference Constitutes an Abuse of Discretion When
                      the University Has Committed to Bring Another Official with Full
                      Settlement Authority to the Settlement Conference..........................4
              B.      Respectfully, Requiring the University’s President to Attend a
                      Conference to Defend the Policy Pursuant to the Court’s
                      Understanding of the President’s Responsibilities Constitutes an
                      Abuse of Discretion. ..........................................................................8
              C.      Respectfully, the Proceedings Throughout This Matter Provide
                      Additional Reasons Why the University’s Chief Executive Officer
                      Should Not Be Personally Ordered to Attend Future Proceedings. 12
     II.      Respectfully, the Court Should Refer This Matter to Another Member
              of the Court to Conduct Settlement Discussions......................................13
 CONCLUSION ........................................................................................................15




                                                            i
Case 2:18-cv-11776-AJT-EAS ECF No. 44 filed 05/06/19                             PageID.1273          Page 6 of 26



                                     TABLE OF AUTHORITIES

 CASES
 Ayotte v. Planned Parenthood of N. New England,
   546 U.S. 320 (2006) ........................................................................................v, 13

 Bonner Farms, Ltd. v. Fritz,
   355 F. App’x 10 (6th Cir. 2009) .....................................................................v, 14
 Brady v. Office of Sergeant at Arms,
    520 F.3d 490 (D.C. Cir. 2008) ............................................................................10

 Consol. Cigar Corp. v. Reilly,
   218 F.3d 30 (1st Cir. 2000), rev’d in part on other grounds sub
   nom., Lorillard Tobacco Co. v. Reilly, 533 U.S. 525 (2001) .............................14
 Doe v. Baum,
   903 F.3d 575 (6th Cir. 2018) ........................................................................10, 15
 Doe v. University of Cincinnati,
   872 F.3d 393 (6th Cir. 2017) ..............................................................................15
 Flaim v. Med. Coll. of Ohio,
    418 F.3d 629 (6th Cir. 2005) ..........................................................................v, 14

 Freedman v. State of Md.,
    380 U.S. 51 (1965) ..........................................................................................v, 14
 Furnco Constr. Corp. v. Waters,
   438 U.S. 567 (1978) ............................................................................................10
 In re Stone,
     986 F.2d 898 (5th Cir. 1993) ....................................................................v, 3, 5, 6

 Printz v. United States,
    521 U.S. 898 (1997) ..........................................................................................v, 9

 S.E.C. v. Bravata,
    3 F. Supp. 3d 638 (E.D. Mich. 2014) .................................................................14




                                                          ii
Case 2:18-cv-11776-AJT-EAS ECF No. 44 filed 05/06/19                                 PageID.1274           Page 7 of 26



 Sequal Techs., Inc. v. Stern,
    No. 10CV2655 DMS NLS, 2012 WL 474464
    (S.D. Cal. Feb. 14, 2012) ......................................................................................6
 Turner v. City of Detroit,
    No. CIV.A. 11-12961, 2012 WL 4839139
    (E.D. Mich. Oct. 11, 2012) ...................................................................................7

 United Food & Commercial Workers Union, Local 1099 v. Sw. Ohio
   Reg’l Transit Auth.,
   163 F.3d 341 (6th Cir. 1998) ..........................................................................v, 13

 United States v. Harper,
   No. 13-20246, 2016 WL 465495 (E.D. Mich. Feb. 8, 2016) ............................... 2
 United States v. U.S. Dist. Court for N. Mariana Islands,
   694 F.3d 1051 (9th Cir. 2012), as amended (Oct. 16, 2012)............................v, 6
 Virginia v. Am. Booksellers Ass’n, Inc.,
    484 U.S. 383 (1988) ........................................................................................v, 13

 OTHER AUTHORITIES
 28 U.S.C. § 753 ........................................................................................................13

 Fed. R. Civ. P. 16(c)(1) ..............................................................................................7
 Fed. R. Evid. 408 .......................................................................................................4
 Local Rule 7.1(h)(3)...................................................................................................2

 Local Rule 16.6 ..........................................................................................................5
 Mich. Const. Art. 8, § 5 ...................................................................v, 8, 9, 10, 11, 13

 U.S. Const. amend. X.............................................................................................v, 9




                                                            iii
Case 2:18-cv-11776-AJT-EAS ECF No. 44 filed 05/06/19        PageID.1275      Page 8 of 26



                 STATEMENT OF THE ISSUES PRESENTED

        Whether the Court should grant reconsideration of its May 1, 2019 Order

 and:



 (1) Permit the University to bring, in lieu of the University’s President, another

 University administrator with full settlement authority to the upcoming conference,

 to the extent the purpose of the conference is to discuss settlement; and

        Proposed Answer: Yes.



 (2) To the extent the purpose of the upcoming conference is to discuss settlement,

 refer this matter to another member of the Court to conduct the conference given

 that a stated purpose of the conference is to discuss issues involving the

 University’s sexual misconduct policy that the Court may ultimately be required to

 rule upon, particularly with respect to any injunctive relief requested by the

 plaintiff.

        Proposed Answer: Yes.




                                          iv
Case 2:18-cv-11776-AJT-EAS ECF No. 44 filed 05/06/19      PageID.1276   Page 9 of 26



                            RELEVANT AUTHORITY

 Cases

 Ayotte v. Planned Parenthood of N. New England, 546 U.S. 320 (2006)

 Bonner Farms, Ltd. v. Fritz, 355 F. App’x 10 (6th Cir. 2009)

 Flaim v. Med. Coll. of Ohio, 418 F.3d 629 (6th Cir. 2005)

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 In re Stone, 986 F.2d 898 (5th Cir. 1993)

 Printz v. United States, 521 U.S. 898 (1997)

 United Food & Commercial Workers Union, Local 1099 v. Sw. Ohio Reg’l Transit
 Auth., 163 F.3d 341 (6th Cir. 1998)

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 2012), as amended (Oct. 16, 2012)

 Virginia v. Am. Booksellers Ass'n, Inc., 484 U.S. 383 (1988)

 Constitutional Provisions

 Mich. Const. Art. 8, § 5

 U.S. Const. amend. X




                                             v
Case 2:18-cv-11776-AJT-EAS ECF No. 44 filed 05/06/19      PageID.1277       Page 10 of 26



                                 INTRODUCTION
       On May 1, 2019, the Court held a telephonic status conference at which the

 Court ordered the President of defendant the University of Michigan (the

 “University”) to appear in person at a conference to be held at a date to be

 determined in May 2019. Despite requests for clarification, the purpose of this

 conference remains unclear. The Court has suggested that the conference is for

 settlement purposes, while at other times it has suggested that the purpose is to

 discuss the University’s sexual misconduct policy, which the Court expects the

 University’s President to defend on behalf of the University, even though that

 policy is not in the record before the Court and no motion pertaining to the policy

 is pending. In either case, the University respectfully submits that it would be

 improper to require the University’s President to attend the conference.

       Defendants respectfully request that the Court reconsider its May 1, 2019

 Order (the “Order”) and permit the University to bring, in lieu of the University’s

 President, another University administrator with full settlement authority to any

 upcoming settlement conference. While the University acknowledges the Court’s

 inherent authority to require the participation of a party representative with full

 settlement authority at a settlement conference, the Court exceeded the bounds of

 its discretion by specifically requiring the University’s President to attend the

 conference when: (1) the University assured the Court that another administrator
Case 2:18-cv-11776-AJT-EAS ECF No. 44 filed 05/06/19        PageID.1278    Page 11 of 26



 with full settlement authority would be available for the conference; and (2) the

 President has no duty or responsibility to defend the University’s sexual

 misconduct policy in the manner suggested by the Court.

       In addition, because this Court will be the ultimate decision-maker on the

 equitable relief plaintiff seeks in this civil action involving the University’s sexual

 misconduct policy – the very same policy to be discussed at the conference – the

 University respectfully requests that the Court reconsider its decision declining to

 refer this matter to another member of the Court to the extent the purpose of the

 conference is to discuss settlement.

                                LEGAL STANDARD
       A party seeking reconsideration of an Order issued by this Court ordinarily

 “must demonstrate a palpable defect by which the court has been misled and must

 also show that correcting the defect will result in a different disposition.” United

 States v. Harper, No. 13-20246, 2016 WL 465495, at *1 (E.D. Mich. Feb. 8,

 2016);1 see also Local Rule 7.1(h)(3).

       “[S]ubject to the abuse-of-discretion standard, district courts have the

 general inherent power to require a party to have a representative with full




 1
  Unpublished cases are attached as Exhibit B to the accompanying Declaration of
 Joshua W. B. Richards, Esq. (the “Richards Declaration”).


                                           2
Case 2:18-cv-11776-AJT-EAS ECF No. 44 filed 05/06/19      PageID.1279     Page 12 of 26



 settlement authority present – or at least reasonably and promptly accessible – at

 pretrial conferences.” In re Stone, 986 F.2d 898, 903 (5th Cir. 1993).

                                    ARGUMENT

 I.    Respectfully, the Court’s Stated Reasons for Requiring the University’s
       President to Attend the Upcoming Conference Constitute an Abuse of
       Discretion.
       During the telephonic status conference on May 1, 2019, and in response to

 the University’s counsel’s inquiry as to the purpose for requiring the University’s

 President to attend the upcoming conference, the Court explicitly and emphatically

 stated two grounds for requiring the University’s President to attend: (1) to ensure

 that the University will be capable of approving any changes to the University’s

 sexual misconduct policy (or any other agreements reached during the settlement

 conference) without needing to be later approved by any other University official;2

 and (2) to “defend” the University’s sexual misconduct policy pursuant to what the

 Court stated is “part of [the President’s] qualifications for the job” (May 1, 2019

 Tr. at 10:17-24).3 Requiring the University’s President to attend the conference for

 either reason constitutes an abuse of discretion.


 2
   The Court explained: “I don’t want anything that we decide to have to be
 reviewed by the President which as I understand university structure, this is the
 kind of decision that ultimately would have to be at least okayed by the President.”
 (May 1, 2019 Tr. at 8:23-9:1.)
 3
  The transcript of the May 1, 2019 telephonic status conference is attached as
 Exhibit A to the Richards Declaration.


                                           3
Case 2:18-cv-11776-AJT-EAS ECF No. 44 filed 05/06/19      PageID.1280    Page 13 of 26



       The degree to which the proposed proceedings are undefined compound the

 Court’s error in ordering the University’s chief executive officer to appear

 personally. For example, and for obvious reasons, settlement negotiations do not

 occur in open court. See, e.g., Fed. R. Evid. 408. But based on the Court’s

 statements about policy and the Court’s views about the President’s duty to defend

 policy choices, it is not clear what type of proceeding the Court would be ordering

 the President to attend, and whether that proceeding would be on or off the record.

 And if the Court intends only to oversee private settlement discussions, that is an

 additional reason why the University should be able to send a senior official with

 full settlement authority.

              A.     Respectfully, Requiring the University’s President to Attend
                     a Settlement Conference Constitutes an Abuse of Discretion
                     When the University Has Committed to Bring Another
                     Official with Full Settlement Authority to a Settlement
                     Conference.
       Counsel for the University represented to the Court that the University

 would bring another University administrator with full settlement authority to the

 conference and whose agreement to any terms would not need to be later approved

 by any other University official. (See May 1, 2019 Tr. at 8:18-20, 9:25-10:4,

 10:12-15.) The University’s proposal satisfied the first of the Court’s articulated

 purposes for requiring the University’s President to attend a settlement conference.




                                          4
Case 2:18-cv-11776-AJT-EAS ECF No. 44 filed 05/06/19          PageID.1281   Page 14 of 26



       The University’s President is the chief executive officer of an extraordinarily

 complicated three-campus enterprise with annual budgeted revenues of more than

 $8 billion, including more than 61,000 students, roughly 28,000 employees, a

 nearly $4 billion academic medical center, and a $1.5 billion research budget. The

 President’s daily schedule reflects those myriad responsibilities and more. The

 obligations on the President’s time arise and are set months in advance. It would

 be a significant burden on the University for the President to be diverted from his

 duties as an officer of the State of Michigan and the constitutionally-created

 University to attend a settlement conference in this matter. The University is

 involved in approximately sixty current pending litigation matters. Requiring the

 President to attend settlement conferences in these matters is impractical and

 unnecessary when the President has delegated full settlement authority to other

 University officials. This concern is particularly acute here where an administrator

 with authority delegated by the President is competent to perform the task at hand

 with no articulable prejudice to the Court or the parties.

       While the Court has discretion to require that a party representative with full

 settlement authority attend a settlement conference, see Local Rule 16.6, that

 discretion is not unbounded. Requiring the attendance of a high-ranking official at

 a settlement conference “is a power to be very sparingly used.” See In re Stone,

 986 F.2d 898, 900, 904-05 (5th Cir. 1993) (holding on petitions seeking writs of


                                           5
Case 2:18-cv-11776-AJT-EAS ECF No. 44 filed 05/06/19      PageID.1282    Page 15 of 26



 mandamus that district court abused its discretion by requiring a high-ranking

 government official to attend settlement conferences and requiring district court to

 “adjust [its] directives accordingly”).

       While the Sixth Circuit has not spoken directly on the impropriety of

 requiring a specific high-ranking government official to attend a settlement

 conference, the Fifth and Ninth Circuits have squarely addressed this issue on

 petitions for writ of mandamus. In both instances, these Courts of Appeals ruled

 that requiring a high-ranking official to attend a settlement conference constitutes

 an abuse of discretion when a district court does not “consider less drastic steps.”

 See id. at 905; United States v. U.S. Dist. Court for N. Mariana Islands, 694 F.3d

 1051, 1061 (9th Cir. 2012), as amended (Oct. 16, 2012) (granting petition for writ

 of mandamus because district courts “should consider less drastic steps before”

 requiring “the government to send a [particular] representative with full settlement

 authority to a pretrial conference”).

       Stone and Northern Mariana Islands both involved officials from the United

 States Department of Justice in whom ultimate settlement authority was vested by

 regulation. See id. Here, there are no such regulations casting the President of the

 University for purposes of this proceeding, and therefore even less reason to insist

 on his attendance. Cf. Sequal Techs., Inc. v. Stern, No. 10CV2655 DMS NLS,

 2012 WL 474464, at *2 (S.D. Cal. Feb. 14, 2012) (denying motion to require


                                           6
Case 2:18-cv-11776-AJT-EAS ECF No. 44 filed 05/06/19       PageID.1283       Page 16 of 26



 president to attend settlement conference and holding that “there is no good cause

 to require [Plaintiff] to bring any particular representative to the Mandatory

 Settlement Conference, so long as the representative it chooses has the requisite

 [settlement] authority”); Turner v. City of Detroit, No. CIV.A. 11-12961, 2012 WL

 4839139, at *2 (E.D. Mich. Oct. 11, 2012) (explaining that the “apex doctrine”

 protects high-ranking officials from having to testify when other persons within an

 organization can “provide the necessary information”); Fed. R. Civ. P. 16(c)(1) (“If

 appropriate, the court may require that a party or its representative be present or

 reasonably available by other means to consider possible settlement.”) (emphasis

 added).

       In this case, the Court has already acknowledged that the University’s

 President “can delegate. Obviously, with such a large institution there are all sorts

 of delegations made.” (May 1, 2019 Tr. at 9:17-19.) And the Court has already

 acknowledged that any official the University would send to a settlement

 conference would possess full settlement authority:

              [COUNSEL]: Respectfully, your Honor, if the Court’s
              concern is that the person at the conference will not have
              authority to make an agreement without consulting with
              the President, I can assure the Court that the person at the
              conference will have that authority.

              THE COURT: I believe you 100 percent.




                                           7
Case 2:18-cv-11776-AJT-EAS ECF No. 44 filed 05/06/19         PageID.1284     Page 17 of 26



 (May 1, 2019 Tr. at 9:25-10:5.) Given the Court’s findings, it would, respectfully,

 be an abuse of discretion for the Court not to take less drastic steps than ordering

 the University’s chief executive officer.

       In the event this Court has determined in its discretion that it is in the interest

 of justice to hold a conference with attendance by the parties,4 the Court’s

 authority to require attendance by a specific party representative must be supported

 by reasons that satisfy the abuse of discretion standard. The Court has not done so

 here, and has accordingly abused its discretion. The University respectfully urges

 the Court to reconsider its Order.

              B.    Respectfully, Requiring the University’s President to Attend
                    a Conference to Defend the Policy Pursuant to the Court’s
                    Understanding of the President’s Responsibilities
                    Constitutes an Abuse of Discretion.
       The Court’s second stated reason for requiring the University’s President to

 attend the conference also represents an abuse of discretion. The Court asserts that

 the University President’s responsibilities require him to “defend” the University’s

 sexual misconduct policy, see May 1, 2019 Tr. at 10:17-24, but, respectfully, the

 Court does not define the President’s responsibilities: the Regents of the University

 of Michigan do. See Mich. Const. Art. 8, § 5. The Court’s conscription of the


 4
   The University further notes for the record that the Court has ordered a
 representative from the University to attend the conference, but has not ordered the
 plaintiff to attend in person.


                                             8
Case 2:18-cv-11776-AJT-EAS ECF No. 44 filed 05/06/19       PageID.1285    Page 18 of 26



 University’s President – an officer of the state – to perform a task the President

 would not otherwise be required to perform by the Regents is “fundamentally

 incompatible with our constitutional system of dual sovereignty” and violates the

 Tenth Amendment. See Printz v. United States, 521 U.S. 898, 935 (1997); U.S.

 Const. amend. X; see also Strahan v. Coxe, 127 F.3d 155, 169 (1st Cir. 1997)

 (“[T]he commands of the Tenth Amendment apply to all branches of the federal

 government, including the federal courts . . . .”).

       Federal district courts have very narrow jurisdictional power and authority

 limited by the U.S. Constitution (including separation of powers), federal statutes

 (which create district courts) and a variety of doctrines (like mootness and

 standing) fleshing out the requirement that district courts only may rule on judicial

 questions arising in specific cases or controversies that otherwise clear applicable

 federal jurisdictional hurdles. See, e.g., Kokkonen v. Guardian Life Ins. Co. of

 Am., 511 U.S. 375, 377 (1994).

       Thus, for example, and respectfully, this Court lacks Article I power to

 rewrite Title IX with respect to the University’s policies, lacks Article II power to

 promulgate Title IX regulations for the U.S. Department of Education, and

 significantly, and again respectfully, this Court lacks power under Article 8,

 Section 5 of the Michigan Constitution to write University policy or supervise its

 President, who is an Ex Officio Member of the Board of Regents. See Mich.


                                            9
Case 2:18-cv-11776-AJT-EAS ECF No. 44 filed 05/06/19       PageID.1286    Page 19 of 26



 Const. Art. 8, § 5.    The University emphasizes these fundamental principles

 because they highlight why the Court’s explicit stated purposes for ordering the

 University’s chief executive to attend proceedings are not in accord with the law.

       First, whether a policy change is “wise” or unwise as a policy matter is for

 Congress, the Department of Education, or the University of Michigan to decide –

 not for the Court. See Brady v. Office of Sergeant at Arms, 520 F.3d 490, 496

 (D.C. Cir. 2008) (“It is not the Judiciary’s place to micro-manage an employer’s

 . . . policies.”) (citing Furnco Constr. Corp. v. Waters, 438 U.S. 567, 578 (1978)

 (“Courts are generally less competent than employers to restructure business

 practices, and unless mandated to do so by Congress they should not attempt it.”));

 see also infra., n.6 (collecting cases holding that courts should not rewrite state

 law). But the Court has specifically premised its ruling on this very basis:

              THE COURT: For example, it might be wise that the
              Cross-Examination could be done by an independent
              person or trained, independent person or a lawyer but not
              by the accused.
 (May 1, 2019 Tr. at 6:14-17 (emphasis added)). The Court did not examine the

 policy – which is not in the record – and suggest the policy was not lawful; it

 instead suggested that “it might be wise” for the University to change a policy the

 Court has not seen. Moreover, the Sixth Circuit’s decision in Doe v. Baum, 903

 F.3d 575, 583 (6th Cir. 2018), explicitly provides universities a choice between

 allowing the parties or their agents to conduct cross-examination. Ordering the


                                          10
Case 2:18-cv-11776-AJT-EAS ECF No. 44 filed 05/06/19          PageID.1287      Page 20 of 26



 President into Court in order to instruct him regarding the Court’s views on the

 wisdom of University policies where binding Circuit precedent provides the

 University with a choice in the matter is not a proper exercise of federal judicial

 power.

          Second, under the Michigan Constitution, it is the Regents, not the Court,

 who have authority to supervise the University’s President. See Mich. Const. Art.

 8, § 5 (“Each board shall, as often as necessary, elect a president of the institution

 under its supervision. He shall be the principal executive officer of the institution,

 be ex-officio a member of the board without the right to vote and preside at

 meetings of the board.”). The Court’s explicitly stated basis for its Order would,

 respectfully, usurp the Board’s authority to supervise the President. Thus, when

 asked about the basis for the Court’s decision, the Court cited its views of the

 President’s job qualifications, why he was hired, why he retains his position, and

 what the Court considers to be his job responsibilities:

                I don’t have to explain myself, but I will. And it’s I think
                the President, part of his qualifications for the job when
                he was hired and when he continued in the job, is the
                public [scrutiny] 5 that the university is regularly under
                and he should be a part of this [process] so that he can
                defend whatever is [agreed] to and explain to the media,
                to the public, and perhaps most importantly to the faculty
                and the students. So he shall be here.


 5
     The bracketed terms in this quotation correct errors in the transcript.


                                             11
Case 2:18-cv-11776-AJT-EAS ECF No. 44 filed 05/06/19         PageID.1288    Page 21 of 26



 (May 1, 2019 Tr. at 10:16-24 (emphasis added).)

          The next stated basis for the Order has the Court prioritizing the President’s

 work obligations: “Let me say this. This should be more important to him than

 almost anything going on at the university.” (May 1, 2019 Tr. at 14:19-21.)

 Reducing the incidence of sexual misconduct, providing fair processes, and

 supporting students who have been subject to sexual assault are critically important

 goals for the entire leadership of the University. But, respectfully, it is not for the

 Court to set the priorities and specific obligations of the President of the

 constitutionally created University.

                C.     Respectfully, the Proceedings Throughout This Matter
                       Provide Additional Reasons Why the University’s Chief
                       Executive Officer Should Not Be Personally Ordered to
                       Attend Future Proceedings.
          The uncertainty as to the purpose of the upcoming conference leaves the

 University with even more concern, given other problematic instances in this case.6

 Confusion has already arisen in this case from discussions in chambers, without a

 court reporter present, leaving the lawyers, litigants, and (it would, respectfully,

 appear) the Court further in dispute and uncertain as to what the Court has

 required, which has necessitated further communications with the Court’s staff,

 not-insignificant burdens on the litigants, and a follow-up telephonic conference.


 6
     (See, e.g., ECF No. 20, June 11, 2018 Tr. at 5:14-17, 6:13-17.)


                                            12
Case 2:18-cv-11776-AJT-EAS ECF No. 44 filed 05/06/19         PageID.1289    Page 22 of 26



 (See May 1, 2019 Tr. at 9:13-14 (“And both of you, it doesn't matter what was said

 at that conference.”)); see also 28 U.S.C. § 753.

       For these and other reasons, the University continues to object to the Court’s

 Order that it expose its chief executive officer to an uncertain, ill-defined process.7

 II.   Respectfully, the Court Should Refer This Matter to Another Member
       of the Court to Conduct Settlement Discussions.
       During the telephonic status conference on May 1, 2019, the Court also

 expressed an intention to facilitate changes to the University’s sexual misconduct

 policy in furtherance of settlement to avoid protracted litigation. 8 (See May 1,

 2019 Tr. at 11:24-12:5.)


 7
   As the University informed the Court’s staff on May 3, 2019, “the schedule for
 the President of the University is set weeks, often months, in advance and he is not
 available at either of the times proposed by the Court. The President does have
 some availability at other times, but the University also wishes to advise the Court
 that it intends to file a motion on Monday for reconsideration of the Court’s order
 requiring the President to appear on the basis that the Court's stated reasons for
 requiring his attendance are not in accord with the law.”
 8
   Given that under the Constitution of the State of Michigan, the University is a
 branch of the Michigan state government, Mich. Const. Art. 8, § 5, the Court
 should proceed with caution in taking on a legislative or administrative function by
 actively presiding over attempts to change the internal policies of a state entity,
 particularly where the proposed changes are not squarely required by authority
 from the Court of Appeals. See, e.g., Ayotte v. Planned Parenthood of N. New
 England, 546 U.S. 320, 329 (2006) (“[M]indful that our constitutional mandate and
 institutional competence are limited, we restrain ourselves from rewrit[ing] state
 law to conform it to constitutional requirements . . . .”) (marks omitted); Virginia v.
 Am. Booksellers Ass’n, Inc., 484 U.S. 383, 397 (1988) (“[W]e will not rewrite a
 state law to conform it to constitutional requirements.”); United Food &
 Commercial Workers Union, Local 1099 v. Sw. Ohio Reg’l Transit Auth., 163 F.3d

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Case 2:18-cv-11776-AJT-EAS ECF No. 44 filed 05/06/19      PageID.1290     Page 23 of 26



       The Court should avoid conducting a settlement conference itself, when, as

 here, the Court (and not a jury) could be the ultimate decision-maker on a claim for

 equitable relief in a case involving the very same policy. See Bonner Farms, Ltd.

 v. Fritz, 355 F. App’x 10, 18 (6th Cir. 2009) (“[T]he determination of equitable

 defenses and equitable remedies is a matter for the court to decide, not the jury.”)

 (quoting Smith v. World Ins. Co., 38 F.3d 1456, 1462 (8th Cir. 1994)); S.E.C. v.

 Bravata, 3 F. Supp. 3d 638, 643 (E.D. Mich. 2014) (“[T]he Court, not a jury, must

 decide” equitable remedies).

       Plaintiff seeks equitable relief from the Court in his First Amended

 Complaint. (See ECF No. 28 at 34.) That requested relief could require the Court

 to decide challenges to the University’s sexual misconduct policy. See Bonner

 Farms, 355 F. App’x at 18; Bravata, 3 F. Supp. 3d at 643. Indeed, the Court has

 already heard argument and entered equitable relief in this case once.



 341, 362 (6th Cir. 1998) (“We will not, however, rewrite the [state agency’s]
 guidelines to cure their substantial infirmities.”); see also Consol. Cigar Corp. v.
 Reilly, 218 F.3d 30, 56 (1st Cir. 2000) (stating courts must “take care not to
 trample legislative or executive province of state authorities by making unduly
 substantive additions or changes to laws and regulations”), rev'd in part on other
 grounds sub nom., Lorillard Tobacco Co. v. Reilly, 533 U.S. 525 (2001);
 Freedman v. State of Md., 380 U.S. 51, 60-61 (1965) (“How or whether [a State] is
 to incorporate the required procedural safeguards in the statutory scheme is, of
 course, for the State to decide.”); Flaim v. Med. Coll. of Ohio, 418 F.3d 629, 638
 (6th Cir. 2005) (federal court review of university disciplinary procedures is
 “circumscribed,” and “limited to determining whether the procedures used
 . . . were constitutional”).

                                         14
Case 2:18-cv-11776-AJT-EAS ECF No. 44 filed 05/06/19        PageID.1291    Page 24 of 26



          The Court’s justification for declining to make such a referral in this case

 was that another judge “would have to start over in terms of understanding the

 scope of the conference, the scope of at least the Doe case.” (May 1, 2019 Tr. at

 13:19-21.) Respectfully, however, this justification does not reflect the reality that:

 (1) the University’s current policy is not even in the record before the Court, so the

 Court does not have any familiarity with the current policy yet either; and (2) the

 features of that policy that plaintiff objects to, which would be the subject of the

 proposed conference, are also limited; and (3) the case law governing the issues is

 narrow and recent: the Sixth Circuit’s recent opinions in Doe v. Baum, 903 F.3d

 575 (6th Cir. 2018) and Doe v. University of Cincinnati, 872 F.3d 393 (6th Cir.

 2017). A colleague on the Court could get up to speed on these issues in very short

 order.

          To encourage a full exchange of ideas, and more importantly to eliminate the

 potential for influencing the Court’s views on a matter the Court may ultimately be

 required to rule upon, the University respectfully requests that the Court reconsider

 its decision and refer this matter to another member of the Court to conduct the

 upcoming conference to the extent its purpose is to discuss settlement.

                                    CONCLUSION
          Defendants respectfully request that the Court grant defendants’ motion for

 reconsideration of the Court’s May 1, 2019 Order and (1) permit the University to



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Case 2:18-cv-11776-AJT-EAS ECF No. 44 filed 05/06/19     PageID.1292    Page 25 of 26



 bring, in lieu of the University’s President, another University administrator with

 full settlement authority to the upcoming conference, and (2) refer this matter to

 another member of the Court to the extent the purpose of the conference is to

 discuss settlement.

                                       Respectfully submitted,

 May 6, 2019                           /s/Joshua W. B. Richards
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                                         16
Case 2:18-cv-11776-AJT-EAS ECF No. 44 filed 05/06/19   PageID.1293   Page 26 of 26



                            CERTIFICATE OF SERVICE
       I hereby certify that on May 6, 2019, I electronically filed the foregoing

 papers with the Clerk of the Court using the ECF system which will send

 notification of such filing to:

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